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 9
10                         UNITED STATES BANKRUPTCY COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12                           SAN FERNANDO VALLEY DIVISION
13 In re                                             Case No. 1:22-bk-11181-MB
14 National Association of Television Program        Chapter 11
   Executives, Inc..
15                                                   DEBTOR’S MOTION FOR ORDER (A)
                                                     AUTHORIZING THE SALE OF
16                        Debtor and                 SUBSTANTIALLY ALL OF THE
                          Debtor in Possession       DEBTOR’S ASSETS FREE AND
17                                                   CLEAR OF ANY LIENS, CLAIMS,
                                                     ENCUMBRANCES AND INTERESTS;
18                                                   (B) AUTHORIZING THE ASSUMPTION
                                                     AND ASSIGNMENT OF CERTAIN
19                                                   EXECUTORY CONTRACTS AND (C)
                                                     GRANTING OTHER RELATED RELIEF;
20                                                   MEMORANDUM OF POINTS AND
                                                     AUTHORITIES AND DECLARATION IN
21                                                   SUPPORT THEREOF
22                                                   Date: December 29, 2022
                                                     Time: 10:00 a.m.
23                                                   Courtroom: 303
                                                     Via Zoomgov
24                                                   Meeting ID: 161 816 9836
                                                     Password: 399666
25
26
     TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE;
27
     THE OFFICE OF THE UNITED STATES TRUSTEE; AND ALL OTHER PARTIES IN
28
     INTEREST:
                                                 1
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 1          National Association of Television Program Executives, Inc. (“Debtor”), the

 2 Chapter 11 Debtor and Debtor-in-Possession in the above-captioned Chapter 11
 3 bankruptcy case (the “Case”) hereby moves the Court by way of this motion (“Sale

 4 Motion”) for an order
 5          (1) Granting the Sale Motion;

 6          (2) Approving the sale of substantially all of the Debtor’s assets, defined as the

 7             Purchased Assets in the Asset Purchase Agreement (the “APA”)1 attached

 8             hereto as Exhibit A and sometimes referred to herein as the Assets to Brunico

 9             Communications Ltd. (the “Buyer” or “Brunico”) or its assignee for a purchase

10             price of $150,000 cash plus assumption of certain liabilities in the amount of

11             $1,057,187.85 or to any Qualified Bidder (as defined below) that makes a

12             higher and better Qualified Bid (as defined below) for the Assets (or a portion

13             thereof) that the Debtor, in consultation with the Subchapter V Trustee and

14             creditor Fontainebleau Florida Hotel, LLC (collectively, the “Consultation

15             Parties”), determines to have submitted the highest and best offer for the

16             Assets (the “Successful Bidder”), free and clear of all liens, claims, interests,

17             and encumbrances, pursuant to Section 363(f), on the terms set forth herein

18             and in the APA;

19          (3) finding that the Buyer or Successful Bidder, as applicable, is a good faith

20             purchaser under Section 363(m) and entitled to the protections under Section

21             363(m);

22          (4) approving the Debtor’s assumption of the Assigned Contracts and any other

23             potentially Assigned Contracts, and the assignment thereof to the Buyer or any

24             accepted Qualified Bidder pursuant to Section 365;

25          (5) approving the Cure Amounts for the Assigned Contracts and deeming the

26             failure of a counter-party to a particular Assigned Contract to object to the

27
28   1
      Capitalized terms used but not defined herein shall have the meaning ascribed to them in the
     APA
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 1          proposed Cure Amount and assumption and assignment to be a waiver of such

 2          objection;

 3       (6) waiving the 14-day stay periods set forth in Federal Rules of Bankruptcy

 4          Procedure (“FRBP”) 6004(h) and 6006(d);

 5       (7) authorizing the Debtor, Buyer or any accepted Qualified Bidder, and all other

 6          parties in interest to take any and all necessary actions required to consummate

 7          the sale of the Purchased Assets as contemplated by the APA, including but not

 8          limited to, the assumption and assignment of the Assigned Contracts; and

 9       (8) granting such other relief as is just and proper under the circumstances.

10 Dated: December 6, 2022                          LESLIE COHEN LAW, PC

11
                                              By    __/s/ Leslie A. Cohen________
12
                                                     LESLIE A. COHEN
13                                                   Attorneys for Debtor

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2                                I.     STATEMENT OF FACTS

 3      a. Background

 4         The Debtor is a non-profit global content association and professional membership

 5 organization dedicated to shaping the future of content through global marketplaces and
 6 conferences, screenings, awards, and networking events. Representing every facet of the
 7 content business, the Debtor’s rich history, spanning over five decades, cements its roots
 8 as the largest U.S.-based global content association.
 9         On October 11, 2022 (“Petition Date”), the Debtor commenced this reorganization

10 case by filing a voluntary petition for relief under chapter 11 of title 11 of the United States
11 Code. The Debtor elected to proceed as a Subchapter V debtor.
12         The Debtor is continuing in possession of its assets as debtor-in-possession (DIP)

13 pursuant to sections 1107 and 1108 of the Bankruptcy Code. As of the filing of this
14 Motion, no trustee, examiner or Committee has been appointed in the Debtor’s Chapter

15 11 case, other than the Subchapter V Trustee.
16         The Debtor timely filed its schedules of assets and liabilities and related forms

17 (“Schedules”) on November 18, 2022. See Docket No. 27
18         Prior to its bankruptcy filing, the Debtor’s operations were dramatically affected by

19 the unavoidable cancellation of an event due to COVID, which resulted in a lengthy and

20 drawn-out arbitration with its hospitality vendor hosting the event. In summary, the vendor
21 is demanding payment of a cancellation fee, and Debtor opposes the fee due to a Force
22 Majeure clause in the agreement. The arbitration was pending when the petition was
23 filed, and is now stayed pursuant to 11 USC section 362.
24      b. Parties With An Interest Or Alleged Interest In the Assets To Be Sold

25         Per the Schedules, the Debtor does not have any secured creditors. Accordingly,

26 to the best of the Debtor’s knowledge, no parties assert any interests in the Assets other
27 than the Debtor.
28      c. Specific Information Regarding The Principal Terms Of The APA

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 1         A summary of the principal terms of the APA are as follows:2

 2         1. Purchased Assets. The Debtor will sell substantially all of its assets, as

 3            described and enumerated in the APA and Schedule A thereto (aka the

 4            “Purchased Assets”), which generally includes all of the Debtor’s Intellectual

 5            Property Rights.

 6         2. Excluded Assets. The Debtor will not sell and will retain any assets not specified

 7            as Purchased Assets (aka “Excluded Assets”).

 8         3. Assumed Liabilities. The Buyer will assume the liabilities described and

 9            enumerated in the APA and Schedule B thereto (aka the “Assumed

10            Liabilities”). 3

11         4. Assigned Contracts and Cure Amounts. The Assigned Contracts and potentially

12            Assigned Contracts that may be designated by the Buyer (or a Successful

13            Bidder) for including in the Assigned Contracts, as well as the related Cure

14            Amounts for the Assigned Contracts, and potentially Assigned Contracts, which

15            must be paid by the Buyer (or a Successful Bidder), are listed below and are set

16            forth in the Notice to Counterparties to Executory Contracts and Unexpired

17            Leases that May Be Assumed and Assigned, which was approved by the Court,

18            and served on counterparties to the Assigned Contracts, and potentially

19            Assigned Contracts, pursuant to the Court’s Bidding Procedures Order.4

20         5. Total Consideration for Purchase Assets. In addition to the Cure Amounts to be

21            paid by the Buyer (if any), the Total Consideration for the Purchased Assets is

22            $150,000 cash plus assumption of certain liabilities in the amount of

23            $1,057,187.85 subject to overbid.

24
25   2
     The following is a summary only and nothing contained herein changes the terms of the APA. In
   the event of a conflict between this summary and the APA, the APA shall control. Interested
26 parties should read the entire APA.
   3 A Qualified Bidder may propose to assume different liabilities, in which case their bid
27 shall be evaluated at the hearing in consultation with the Consultation Parties.
   4 A Qualified Bidder may propose to request assignment of different contracts than the
28 Buyer, in which case their bid shall be evaluated at the hearing in consultation with the
   Consultation Parties.
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 1         6. Representations and Warranties and Conditions. The APA is subject to

 2             representations and warranties by the Debtor and the Buyer and conditions to

 3             the performance of each.

 4         7. Break Up Fee. The Debtor has negotiated, and the Bankruptcy Court has

 5             approved, the reimbursement of Buyer for its reasonable out-of-pocket fees and

 6             expenses incurred in connection with the transactions contemplated by the

 7             Stalking Horse APA in the amount of $20,000 (the “Break Up Fee”) in the event

 8             that Brunico’s Bid is not the winning bid.

 9         After considering the terms of, and benefits derived from the APA, and having no

10 other bona fide offers to serve as a stalking horse for the acquisition of substantially all of
11 the Debtor’s Assets, the Debtor determined, in an exercise of its business judgment that
12 the proposed sale under the APA is in the best interests of the Debtor, its estate, its
13 creditors, and other parties in interest. The APA provides the Debtor with the funds
14 needed to pursue and close a sale of the Assets, provides a baseline bid for the Assets,

15 and should result in the Debtor obtaining the highest and best price for the Assets, which
16 will benefit all parties in interest.
17       d. Efforts To Market And Sell The Debtor’s Assets

18                         i. Interested Parties

19         Prior to the chapter 11 filing, JP Bommel, then President and CEO of the Debtor,

20 engaged in an aggressive search for a buyer and actively pursued 10 companies as
21 potential buyers of the company. Those companies were: Penske Media Corporation
22 (PMC), RXGlobal (MiP Markets), Questex, National Association of Broadcasters (NAB),
23 Brunico Communications Ltd, Future Publishing Ltd, Lakewood Advisors, C21
24 International, Discop, and Allen Media LLC.
25         Unfortunately, none of the aforementioned parties wanted to take on the potential

26 liability brought on by the Fontainebleau dispute. Accordingly, on October 11th, 2022, the
27 Debtor filed for Chapter 11. Sadly, due to a short term cash flow issue but with what would
28 have been a great upside for 2023 and 2024 as in person events were back, as proven by

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 1 a very successful NATPE Streaming Plus event on September 29th in LA, the Debtor held
 2 its last event.
 3         Determined to find a new home for the Debtor and fulfill its obligations to its clients’

 4 credits totaling $1.3 million already paid in for future events, mostly for the Baha Mar
 5 Convention in January 2023 following the filing of the petition, JP Bommel, through his
 6 industry connections and relationships, continued his efforts to market the Debtor and was
 7 able to generate great interest for the Debtor’s assets and secure four bids by October
 8 28th; some of these offers guaranteed to take on the deferred credits. This was an
 9 intensive process involving Debtor’s management and counsel. At the end of this
10 process, after evaluating four (4) separate bids, Brunico was determined to be the best
11 offer for the Assets in the Debtor’s business judgment.
12         In order to continue marketing efforts leading up to the Auction so that the Debtor

13 can attract as many qualified bidders as possible and obtain the highest and best price for
14 the assets, the Debtor has provided notice of the Auction and related Bidding Procedures

15 to all parties the Debtor has been in contact with about a potential purchase of the Assets.
16                       ii. Bidding Procedures Motion

17         On November 15, 2022, the Debtor filed its Motion For An Order (A) Approving

18 Bidding Procedures For Sale Of Debtors’ Assets; (B) Authorizing And Scheduling An
19 Auction; (C) Scheduling Hearing For Approval Of The Sale Of Assets Free And Clear Of

20 Liens And The Assumption And Assignment Of Certain Executory Contracts And
21 Unexpired Leases To The Successful Bidder; (D) Approving Procedures And Setting
22 Deadlines For The Assumption And Assignment Of Executory Contracts And Unexpired
23 Leases, Including Cure Amounts Relating Thereto; (E) Approving Certain Deadlines And
24 The Form, Manner And Sufficiency Of Notice; And (F) Granting Other Related Relief,
25 Docket No. 20 (the “Bidding Procedures Motion”).
26         On December 2, 2022, the Bankruptcy Court entered its Bidding Procedures Order

27 (“Bidding Procedures Order”) granting the Bidding Procedures Motion and approving
28 the Bidding Procedures and forms of notices to be provided to parties in interest

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 1 (collectively, the “Auction and Sale Notices”). [Dkt 45]. A true and correct copy of the
 2 Bidding Procedures Order is attached hereto as Exhibit B, together with the following
 3 Auction and Sale Notices referenced in, and approved pursuant to, the Bidding

 4 Procedures Order:
 5     -     The Bidding Procedures – Exhibit “1” to Bidding Procedures Order;

 6     -     The Notice of Bidding Procedures, Auction Date and Sale Hearing – Exhibit “2” to

 7           Bidding Procedures Order, which includes the Bidding Procedures as an

 8           attachment;

 9     -     Notice of Auction and Hearing on Joint Motion Authorizing a Sale Of Substantially

10           All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances and

11           Interests – Exhibit “3” to Bidding Procedures Order; and

12     -     Notice to Counterparties to Executory Contracts and Unexpired Leases that May

13           Be Assumed and Assigned – Exhibit “4” to Bidding Procedures Order.

14           As can be seen from the final forms of the Auction and Sale Notices, and the proofs

15 of service thereon, which are filed concurrently herewith, the Debtor has complied with the
16 notice requirements set forth in the Bidding Procedures Order regarding notice of the
17 Bidding Procedures, notice of the hearing on this Sale Motion, and notice of the proposed
18 assumption and assignment of the Purchased Contracts or any other contracts that may
19 be later designated by the Buyer or any successful Qualified Bidder.

20         e. The Assumption and Assignment of Contracts And Related Cure Amounts

21           As discussed above, pursuant to the Sale Motion, the Debtor is seeking, inter alia,

22 an order approving (1) the Debtor’s assumption of the Assigned Contracts, and possibly
23 the potentially Assigned Contracts that may be designated by the Buyer (or a successful
24 Qualified Bidder) and (2) the related Cure Amounts for the Assigned Contracts, and
25 potentially Assigned Contracts set forth in the Notice to Counterparties to Executory
26 Contracts and Unexpired Leases that May Be Assumed and Assigned.
27
28

                                                   11
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 1             The Notice to Counterparties to Executory Contracts and Unexpired Leases that

 2 May Be Assumed and Assigned list the following Assigned Contracts, and potentially
 3 Assigned Contracts, and related cure amounts5 6:

 4              Contract                   Contract                  Cure Amount         To Be Assumed
              Counterparty              Name/Description                                  and Assigned
 5                                                                                       Under Stalking
                                                                                           Horse APA
 6              JP Bommel              Executive consulting                $0
           720 Greenwich Street            Agreement
 7                 Apt 2D
           New York, NY, 10014
 8            Edward Jones              Asset management                   $0
                20530 Anza                 agreement
 9
           Torrance, CA, 90503
10             John Sullivan        website maintenance and                $0
           3944 Woolwine Drive        asset management
11                1st Floor                agreement
             Los Angeles, CA,
12                 90063
          INTERCONTINENTAL             Event venue contract                $0                    X
13              BUDAPEST
           Apáczai Csere János
14               utca 12-14
            Budapest, Hungary,
15                  1052
                                                                           $0
16          Pery Consulting           Outsourced consulting
          7607 Wiscasset Drive             and finance
17        West Hills, CA, 91304        services agreement
18
19                                            II.     DISCUSSION

20 a.          The Debtor Should Be Authorized To Sell The Assets Free And Clear

21             Pursuant To 11 U.S.C. § 363 And The Terms Of The APA

22                            i. The Debtor Should Be Authorized To Sell The Assets

23             Pursuant to Sections 363(b)(1) and 1107(a), “[The debtor in possession], after

24 notice and a hearing, may . . . sell . . . other than in the ordinary course of business,
25
26
     5
         The listing of the Assigned Contracts, and potentially Assigned Contracts, above does not
27 constitute an admission by the Debtor that your agreement actually constitutes an executory
     contract or unexpired lease under Section 365, and the Debtor expressly reserve the right to
28 challenge the status of any agreement and remove any Assigned Contract.
     6
         Only contracts which are still in effect and have not been terminated postpetition are included.
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 1 property of the estate.” 11 U.S.C. §§ 363(b)(1) and 1107(a). As a general matter, a court
 2 determining a Section 363(b) motion to sell property of the estate should determine,
 3 based on the evidence presented, that there is a “sound business reason” to grant such

 4 motion. In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983). In re Martin (Myers v.
 5 Martin), 91 F.3d 389, 395 (3d Cir. 1996) citing In re Schipper (Fulton State Bank v.
 6 Schipper), 933 F.2d 513, 515 (7th Cir. 1991); In re Abbotts Dairies of Pennsylvania, Inc.,
 7 788 F.2d 143 (3d Cir. 1986) (implicitly adopting test of Lionel Corp. and requiring good
 8 faith); In re Delaware and Hudson Ry. Co., 124 B.R. 169 (D. Del. 1991) (concluding that
 9 the Third Circuit adopted the “sound business judgment” test in the Abbotts Dairies
10 decision).
11         In the Ninth Circuit, “cause” exists for authorizing a sale of estate assets if it is in

12 the best interest of the estate, and a business justification exists for authorizing the sale.
13 In re Huntington, Ltd., 654 F.2d 578 (9th Cir. 1981); Walter v. Sunwest Bank (In re
14 Walter), 83 B.R. 14, 19-20 (9th Cir. BAP 1988). In addition, the court must further find it is

15 in the best interest of the estate. To make this determination, the court should consider
16 whether:
17         (1) the sale is fair and reasonable, i.e., the price to be paid is adequate;

18         (2) the property has been given adequate marketing;

19         (3) the sale is in good faith, i.e., there is an absence of any lucrative deals with

20              insiders, and

21         (4) adequate notice has been provided to creditors.

22 In re Wilde Horse Enterprises, Inc., 136 B.R. 830, 841-42 (Bankr. C.D. Cal. 1991); In re
23 The Landing, 156 B.R. 246, 249 (Bankr. E.D. Mo. 1993); In re Mama’s Original Foods,
24 Inc., 234 B.R. 500, 502-505 (C.D. Cal. 1999). As described in detail below, the Debtor’s
25 proposed sale of the Assets to the Buyer, subject to overbid, is appropriate and should be
26 approved by the Court.
27                                 1. Sound Business Justification

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 1        In In re Walter, the Ninth Circuit Bankruptcy Appellate Panel adopted a flexible

 2 case-by-case test to determine whether the business purpose for a proposed sale justifies
 3 disposition of property of the estate under Section 363(b). In re Walter, 83 B.R. at 19. The

 4 facts pertaining to the Debtor’s’ proposed sale of the purchases Assets amply substantiate
 5 the Debtor’s business decision that proceeding with such sale is in the best interest of
 6 their estates and merits the approval of this Court.
 7        As discussed above, the Debtor made extensive efforts to market the Assets.

 8 Buyer’s bona fide stalking horse offer sets a floor for overbidders to bid on the purchased
 9 Assets and allows the Debtor to seek higher and better offers.
10        Moreover, time is of the essence because 1) NATPE will run out of cash by

11 February or March, 2) a venue for NATPE Miami needs to be secured this month in order
12 to guarantee an event in January 2024 and 3) production deadlines in order for the
13 successful buyer to deliver on NATPE Budapest in June will require at least six months of
14 lead time. Both conferences will require the successful buyer to work with the clients who

15 have to include their expenditures for these conference in their budgets by end of
16 December 2022. Without the APA provided by the Buyer, the Debtor would likely have not
17 been able to effectuate an orderly and competitive auction for the Assets and may have
18 had to seek to convert or dismiss the Cases. This would have likely resulted in less value
19 obtained for the purchased Assets.

20        In consideration of the foregoing, the Debtor submits that there is a sound business

21 reason for selling the purchased Assets pursuant to the APA (or to an alternative Qualified
22 Bidder under a substantially similar APA).
23                             2. Fair and Reasonable Price/Arms Length Sale

24        In order for a sale to be approved under Section 363(b), the purchase price must

25 be fair and reasonable. See generally, In re Canyon Partnership, 55 B.R. 520 (Bankr. S.D.
26 Cal. 1985). The trustee (or debtor in possession) is given substantial discretion in this
27 regard. Id. In addition, courts have broad discretion with respect to matters under section
28 363(b). See Big Shanty Land Corp. v. Comer Properties, Inc., 61 B.R. 272, 278 (Bankr.

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 1 N.D. Ga. 1985). In any sale of estate assets, the ultimate purpose is to obtain the highest
 2 price for the property sold. Wilde Horse Enterprises, Inc., 136 B.R. at 841 (citing In re
 3 Chung King, Inc., 753 F.2d 547 (7th Cir. 1985)), In re Alpha Industries, Inc., 84 B.R. 703,

 4 705 (Bankr. Mont. 1988).
 5        In this case, there is substantial evidence that the Debtor will obtain a fair and

 6 reasonable price for the purchased Assets under the circumstances. As detailed above,
 7 the Debtor has marketed its Assets for sale and been in contact with numerous Potential
 8 Bidders.
 9        The Debtor ultimately entered into the APA with Brunico. The APA is the result of

10 protracted, arms-length negotiations by and among the Debtor and the Buyer. The APA is
11 subject to, among other things, potential overbids by Qualified Bidders at the auction of
12 the purchased Assets to be conducted in advance of the hearing on this Sale Motion. As
13 required by the Bidding Procedures Order, the Debtor served the Auction and Sale
14 Notices as required on all of the Potential Bidders so that they would be informed off the

15 Bidding Procedures and have an opportunity to submit higher and better offers for the
16 Assets.
17        Under the foregoing conditions, the Debtor believes that the Debtor will obtain the

18 highest and best price for the Assets under the circumstances.
19                              3. Adequate Marketing

20        As discussed in detail above, the Debtor’s Assets were thoroughly marketed. In

21 consideration of the marketing efforts, the unique nature of the Assets, and the number of
22 Potential Bidders in contact with the Debtor, the Debtor submits that the marketing of the
23 Assets was more than adequate.
24                              4. Accurate and Reasonable Notice

25        By way of the Bidding Procedures Order, the Court (1) approved the form of the

26 Auction and Sale Notices and (2) found, among other things, that the Auction and Sale
27 Notices “are each calculated to provide adequate notice concerning the proposed sale of
28 the Assets and the proposed assumption and assignment of the Purchased Contracts, as

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 1 contemplated in the Stalking Horse APA, and are intended to provide due and adequate
 2 notice of the relief sought in the Sale Motion” and “Compliance with the foregoing notice
 3 provisions shall constitute sufficient notice of the Debtor’s proposed sale of the Assets

 4 free and clear of all liens, claims, interests and encumbrances (all as set forth in the Sale
 5 Motion), the contemplated assumption and assignment of each purchased contract and
 6 the proposed amount of Cure Costs with respect to each such purchased contract, and
 7 except as set forth in paragraphs 11 and 12 of this Order, no other or further notice of the
 8 sale shall be required to be provided by the Debtors.”
 9         As discussed above, the Debtor has complied with the notice requirements set

10 forth in the Bidding Procedures Order by timely serving the Court-approved Auction and
11 Sale Notices on parties identified by the Court in the Bidding Procedures Order.
12         Based on the foregoing, the Debtor submits that it provided accurate and

13 reasonable notice of the proposed transactions of under the APA and the relief requested
14 in the Sale Motion to all parties in interest.

15                               5. Good Faith

16         When a bankruptcy court authorizes a sale of assets pursuant to Section 363(b)(1),

17 it is required to make a finding with respect to the “good faith” of the purchaser. Abbotts,
18 788 F.2d at 149. Such a procedure ensures that Section 363(b)(1) will not be employed to
19 circumvent the creditor protections of Chapter 11, and, as such, it mirrors the requirement

20 of Section 1129 that the Court independently scrutinize the proposed sale and makes a
21 finding that it has been proposed in good faith. Id. at 150.
22         “Good faith” encompasses fair value, and further speaks to the integrity of the

23 transaction. Wilde Horse, 136 B.R. at 842. With respect to the debtor’s conduct in
24 conjunction with the sale, the good faith requirement “focuses principally on the element of
25 special treatment of the debtor’s insiders in the sale transaction.” See In re Industrial
26 Valley Refrigeration and Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa.
27 1987). With respect to the buyer’s conduct, this Court should consider whether there is
28 any evidence of “fraud, collusion between the purchaser and other bidders or the [debtor],

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 1 or an attempt to take grossly unfair advantage of other bidders.” Abbotts Dairies, 788 F.2d
 2 at 147, In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978); see Wilde
 3 Horse, 136 B.R. at 842; In re Alpha Industries, Inc., 84 B.R. 703, 706 (Bankr. D. Mont.

 4 1988). In short, “[l]ack of good faith is generally determined by fraudulent conduct during
 5 the sale proceedings.” In re Apex Oil Co., 92 B.R. 847, 869 (Bankr. E.D.Mo. 1988) (citing
 6 In re Exennium, Inc., 715 F.2d 1401, 1404-05 (9th Cir. 1983)).
 7        The Debtor submits that the proposed sale of the Assets has been, and will be,

 8 conducted in good faith. As set forth herein above and below, the APA was negotiated at
 9 arms-length over a protracted period of time by and among the Debtor and the Buyer, as
10 well as earlier discussions with other potential bidders. The Buyer is not an “insider” of
11 the Debtor, as defined by Section 101(31)(B). In addition, the Buyer’s offer for the for the
12 purchased Assets is still subject to higher and better bids pursuant to the Court-approved
13 Bidding Procedures. In consideration of the foregoing, the Debtor submits that the Buyer,
14 or any successful accepted Successful Bidder, is entitled to a good faith finding pursuant

15 to Section 363(m), which is a requirement under the terms of the APA.
16        The Debtor does not have any family, personal or business connections with the

17 Buyer or any of the currently known potential bidders. Other than being in the same
18 industry, the Debtor does not have any other relationship with the Buyer.
19        Section 363(m) provides that “[t]he reversal or modification on appeal of an

20 authorization under [section 363(b) or (c)] of a sale or lease of property does not affect the
21 validity of a sale or lease under such authorization to an entity that purchased or leased
22 such property in good faith.” 11 U.S.C. § 363(m). In making a good faith determination,
23 the Ninth Circuit Court of Appeals has indicated that this requirement speaks to the
24 integrity of the purchaser’s conduct in the course of the sale proceedings. See Cmty. Thrift
25 & Loan v. Suchy (In re Suchy), 786 F.2d 900, 902 (9th Cir. 1986) (internal quotation marks
26 and citations omitted). In making a good faith determination, courts generally consider
27 whether there is any evidence of fraud, collusion, or interested dealing and whether the
28 purchaser attempted “to take grossly unfair advantage of other bidders.” Id.

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 1        As set forth above, the Debtor believes the Buyer (or any Successful Bidder) is a

 2 good faith purchaser entitled to the protections afforded by Section 363(m).
 3                      ii. The Debtor Should Be Authorized To Sell The Assets Free

 4                          and Clear

 5        Section 363(f) provides, in relevant part, as follows:

 6               The [debtor in possession] may sell property under subsection
                 (b) . . . of this section free and clear of any interest in such
 7               property of an entity other than the estate, only if—
                 (1) applicable non-bankruptcy law permits the sale of such
 8
                 property free and clear of such interest;
 9               (2) such entity consents;
                 (3) such interest is a lien and the price at which such property
10               is to be sold is greater than the aggregate value of all liens on
                 such property;
11               (4) such interest is in bona fide dispute; or
                 (5) such entity could be compelled, in a legal or equitable
12
                 proceeding, to accept a money satisfaction of such interest.
13               11 U.S.C. §363(f).

14        Here, the Debtor is not aware of any creditors asserting an interest in the Assets,
15 and the Debtor has no secured creditors. See Docket No. 40. Accordingly, to the extent
16 necessary, the Court can order a sale of the Assets free and clear pursuant to Section
17 363(f)(4).
18 b.     The Debtor Should Be Authorized To Assume And Assign The Assigned
19        Contracts
20        Barring exceptions not herein relevant, Section 365(a) authorizes a debtor in
21 possession, “subject to the court’s approval, ... [to] assume or reject any executory
22 contract or unexpired lease of the debtor.” If there has been a default on any executory
23 contract or unexpired lease, a debtor cannot assume such contract or lease, unless the
24 debtor (1) cures, or provides adequate assurance that the debtor will promptly cure, such
25 default; (2) compensates, or provides adequate assurance that the debtor will promptly
26 compensate a party for any actual pecuniary loss to such party resulting from such
27 default; and (3) provides adequate assurance of future performance under such contract
28 or lease. 11 U.S.C. § 365(b)(2).

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 1        A debtor in possession may assume or reject executory contracts for the benefit of

 2 the estate. In re Klein Sleep Products, Inc., 78 F.3d 18, 25 (2d. Cir. 1996); In re Central
 3 Fla. Metal Fabrication, Inc., 190 B.R. 119, 124 (Bankr. N.D. Fla. 1995); In re Gucci, 193

 4 B.R. 411, 415 (S.D.N.Y. 1996). In reviewing a debtor in possession’s decision to assume
 5 or reject an executory contract, a bankruptcy court should apply the “business judgment
 6 test” to determine whether it would be beneficial to the estate to assume it. In re
 7 Continental Country Club, Inc., 114 B.R. 763, 767 (Bankr. M.D. Fla. 1990); see also In re
 8 Gucci, supra, 193 B.R. at 415. The business judgment standard requires that the court
 9 follow the business judgment of the debtor unless that judgment is the product of bad
10 faith, whim, or caprice. In re Prime Motors Inns, 124 B.R. 378, 381 (Bankr. S.D. Fla.
11 1991), citing Lubrizol Enterprises v. Richmond Metal Finishers, 756 F.2d 1043, 1047 (4th
12 Cir. 1985), cert. denied, 475 U.S. 1057, 106 S.Ct. 1285, 89 L.Ed.2d 592 (1986).
13        In this case, all of the foregoing requirements have been met. As discussed above,

14 the Debtor is potentially seeking to assume of the Contracts as enumerated and to assign

15 such Assigned Contracts to the Buyer. The assumption and assignment of the Assigned
16 Contracts which are integral to the continued operation of the Debtor’s business, is a
17 requirement of the APA. Furthermore, the assumption and assignment of the Assigned
18 Contracts will eliminate damages that would arise if the Assigned Contracts were rejected
19 and reduce claims against the estate and preserve funds to be used to pay allowed

20 claims, because the Buyer will have to pay related Cure Amounts, if any. Therefore, the
21 Debtor submits that the “business judgment test” has been satisfied.
22        In addition, as a prerequisite to the assumption and assignment of any of the

23 Assigned Contracts designated by the Buyer, any payment or other defaults arising under
24 the Assigned Contracts must be cured or there must be adequate assurance of prompt
25 cure for such defaults. The Cure Amounts were set forth in the Notice to Counterparties to
26 Executory Contracts and Unexpired Leases that May Be Assumed and Assigned, which
27 was approved by the Court, and served on counterparties to the Assigned Contracts, and
28 potentially Assigned Contracts, pursuant to the Court’s Bidding Procedures Order. Those

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 1 Cure Amounts are also set forth above. The Debtor believes that there are no defaults or
 2 Cure Amounts due under the Contracts. Moreover, as part of the Bidding Procedures, to
 3 the extent a contract is being assumed and assigned, the Buyer needs to provide

 4 evidence of adequate assurance of future performance by the Buyer. The Buyer’s
 5 declaration establishing adequate assurance of future performance on assumed contracts
 6 is attached as Exhibit C.
 7         Based on the foregoing, the Debtor submits that the requirements of Section

 8 365(a), (b), (f) for the assumption and assignment of the Assigned Contracts have been,
 9 or will be, satisfied.
10 c.      The Court Should Waive The Fourteen-Day Waiting Periods Set Forth In

11         Bankruptcy Rules 6004(h) and 6006(d)

12         FRBP 6004(h) provides, among other things, that an order authorizing the sale of

13 property other than cash collateral is stayed until the expiration of fourteen (14) days after
14 entry of the order, unless the court orders otherwise. Bankruptcy Rule 6006(d) has a

15 similar provision with respect to an order approving of a debtor's assumption and
16 assignment of unexpired leases and executory contracts.
17         In this Case, it is extremely important that the Debtor close the sale of the Assets

18 before December 31, 2022 because: 1) NATPE will run out of cash by February or March,
19 2) a venue for NATPE Miami needs to be secured this month in order to guarantee an

20 event in January 2024 and 3) production deadlines in order for the successful buyer to
21 deliver on NATPE Budapest in June will require at least six months of lead time. Both
22 conferences will require the successful buyer to work with the clients who have to include
23 their expenditures for these conference in their budgets by end of December 2022. In
24 consideration of the foregoing, and in order to have sufficient time for any unforeseen
25 issues that arise regarding a close of the sale of the Assets, the Debtor requests that the
26 Court waive the fourteen (14) day waiting periods of Bankruptcy Rules 6004(h) and
27 6006(d).
28

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 1                                   III.   CONCLUSION

 2        WHEREFORE, based on the foregoing, the Debtor respectfully requests that the

 3 Court enter and order:

 4        (1)   granting the Sale Motion;

 5        (2)   approving the sale of substantially all of the Debtor’s assets, defined as the

 6              Purchased Assets in the APA attached hereto as Exhibit “A,” and sometimes

 7              referred to herein as the Assets, or to any Successful Bidder, free and clear

 8              of all liens, claims, interests, and encumbrances (to the extent any exist),

 9              pursuant to Section 363(f), on the terms set forth herein and in the APA;

10        (3)   finding that the Buyer or Successful Bidder, as applicable, is a good faith

11              purchaser under Section 363(m) and entitled to the protections under

12              Section 363(m);

13        (4)   approving the Debtor’s assumption of the Assigned Contracts and any other

14              potentially and the assignment thereof to the Buyer or any Successful Bidder

15              pursuant to Section 365;

16        (5)   approving the Cure Amounts for the Assigned Contracts and deeming the

17              failure of a counterparty to a particular Assigned Contract to object to the

18              proposed Cure Amount and assumption and assignment to be a waiver of

19              such objection;

20        (6)   waiving the 14-day stay periods set forth in FRBP 6004(h) and 6006(d); and

21        (7)   granting such further relief as the Court deems just and proper

22
     December 6, 2022                       LESLIE COHEN LAW PC
23
24
25                                          By: ________/s/ Leslie A. Cohen________
                                                Leslie A. Cohen
26                                              Attorneys for Debtor in Possession
27
28

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 1                                DECLARATION OF JP BOMMEL

 2
 3         I, JP Bommel, declare as follows:

 4         1.     I am over 18 years of age. I am the interim CEO of National Association of

 5 Television Program Executives, Inc. (“Debtor”). I have personal knowledge of the matters
 6 set forth below and, if called to testify, I would and could competently testify thereto.
 7         2.     Capitalized terms in this declaration shall have the same meaning as in the

 8 foregoing Motion.
 9         3.     The Debtor is a non-profit global content association and professional

10 membership organization dedicated to shaping the future of content through global
11 marketplaces and conferences, screenings, awards, and networking events. Representing
12 every facet of the content business, the Debtor’s rich history, spanning over five decades,
13 cements its roots as the largest U.S.-based global content association.
14         4.     On October 11, 2022 (“Petition Date”), the Debtor commenced this

15 reorganization case by filing a voluntary petition for relief under chapter 11 of title 11 of the
16 United States Code. The Debtor elected to proceed as a Subchapter V debtor.
17         5.     Prior to its bankruptcy filing, the Debtor’s operations were dramatically

18 affected by the unavoidable cancellation of an event due to COVID, which resulted in a
19 lengthy and drawn-out arbitration with its hospitality vendor hosting the event. In

20 summary, the vendor is demanding payment of a cancellation fee, and Debtor opposes
21 the fee due to a Force Majeure clause in the agreement. The arbitration was pending
22 when the petition was filed.
23         6.     Per the Schedules, the Debtor does not have any secured creditors.

24 Accordingly, to the best of the Debtor’s knowledge, no parties assert any interests in the
25 Assets other than the Debtor.
26         7.     After considering the terms of, and benefits derived from the APA, and

27 having no other bona fide offers to serve as a stalking horse for the acquisition of
28 substantially all of the Debtor’s Assets, the Debtor determined, in an exercise of its
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 1 business judgment that the proposed sale under the APA is in the best interests of the
 2 Debtor, its estates, its creditors, and other parties in interest. The APA provides the
 3 Debtor with the funds needed to pursue and close a sale of the Assets, provides a

 4 baseline bid for the Assets, and should result in the Debtor obtaining the highest and best
 5 price for the Assets, which will benefit all parties in interest.
 6         8.     Prior to the chapter 11 filing, I engaged in an aggressive search for a buyer

 7 and actively pursued 10 companies as potential buyers of the company. Those
 8 companies were: Penske Media Corporation (PMC), RXGlobal (MiP Markets), Questex,
 9 National Association of Broadcasters (NAB), Brunico Communications Ltd, Future
10 Publishing Ltd, Lakewood Advisors, C21 International, Discop, and Allen Media LLC.
11         9.     Unfortunately, none of the aforementioned parties wanted to take on the

12 potential liability brought on by the Fontainebleau dispute. Accordingly, on October 11th,
13 2022, the Debtor filed for Chapter 11. Sadly, due to a short term cash flow issue but with
14 what would have been a great upside for 2023 and 2024 as in person events were back,

15 as proven by a very successful NATPE Streaming Plus event on September 29th in LA,
16 the Debtor held its last event.
17         10.    Determined to find a new home for the Debtor and fulfill its obligations to its

18 clients’ credits totaling $1.3 million already paid in for future events, mostly for the Baha
19 Mar Convention in January 2023 following the filing of the petition, I, through my industry

20 connections and relationships, continued my efforts to market the Debtor and was able to
21 generate great interest for the Debtor’s assets and secure four bids by October 28th;
22 some of these offers guaranteed to take on the deferred credits. This was an intensive
23 process involving Debtor’s management and counsel. At the end of this process, after
24 evaluating four (4) separate bids, Brunico was determined to be the best offer for the
25 Assets in the Debtor’s business judgment.
26         11.    In order to continue marketing efforts leading up to the Auction so that the

27 Debtor can attract as many qualified bidders as possible and obtain the highest and best
28 price for the assets, the Debtor has provided notice of the Auction and related bidding
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 1 Procedures to all parties the Debtor has been in contact with about a potential purchase of
 2 the Assets.
 3        12.    As discussed above, the Debtor made extensive efforts to market the

 4 Assets. Buyer’s bona fide stalking horse offer sets a floor for overbidders to bid on the
 5 purchased Assets and allows the Debtor to seek higher and better offers.
 6        13.    The APA is the result of protracted, arms-length negotiations by and among

 7 the Debtor and the Buyer. The APA is subject to, among other things, potential overbids
 8 by Qualified Bidders at the auction of the purchased Assets to be conducted in advance of
 9 the hearing on this Sale Motion. As required by the Bidding Procedures Order, the Debtor
10 served the Auction and Sale Notices on all of the Potential Bidders so that they would be
11 informed off the Bidding Procedures and have an opportunity to submit higher and better
12 offers for the Assets
13        14.    In consideration of the marketing efforts, the unique nature of the Assets,

14 and the number of Potential Bidders in contact with the Debtor, the Debtor submits that

15 the marketing of the Assets was more than adequate
16        15.    The Debtor submits that the proposed sale of the Assets has been, and will

17 be, conducted in good faith. As set forth herein above, the APA was negotiated at arms-
18 length over a protracted period of time by and among the Debtor and the Buyer, as well as
19 earlier discussions with other potential bidders. The Buyer is not an “insider” of the

20 Debtor, as defined by Section 101(31)(B). In addition, the Buyer’s offer for the for the
21 purchased Assets is still subject to higher and better bids pursuant to the Court-approved
22 Bidding Procedures. In consideration of the foregoing, the Debtor submits that the Buyer,
23 or any successful accepted Successful Bidder, is entitled to a good faith finding pursuant
24 to Section 363(m), which is a requirement under the terms of the APA.
25        16.    The Debtor does not have any family, personal or business connections with

26 the Buyer or any of the currently known potential bidders. Other than being in the same
27 industry, the Debtor does not have any other relationship with the Buyer.
28
                                                 24
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 1        17.    The Debtor is not aware of any creditors asserting an interest in the Assets,

 2 and the Debtor has no secured creditors.

 3        18.    In this Case, it is extremely important that the Debtor close the sale of the

 4 Assets before December 31, 2022 because: 1) NATPE will run out of cash by February or

 5 March, 2) a venue for NATPE Miami needs to be secured this month in order to guarantee

 6 an event in January 2024 and 3) production deadlines in order for the successful buyer to

 7 deliver on NATPE Budapest in June will require at least six months of lead time. Both

 8 conferences will require the successful buyer to work with the clients who have to include

 9 their expenditures for these conference in their budgets by end of December 2022.
10        19.    A true and correct copy of the Asset Purchase Agreement (the “APA”)

11 attached hereto as Exhibit A.

12        20.    A true and correct copy of the Bidding Procedures Order is attached hereto

13 as Exhibit B, together with the following Auction and Sale Notices.

14        21.    A true and correct copy of the Buyer’s declaration establishing adequate

15 assurance of future performance on assumed contracts is attached as Exhibit C

16        I declare under penalty of perjury under the laws of the United States of America

17 that the foregoing is true and correct.

18               Executed this 6th day of December 2022, at New York, NY.

19
                                             ______________________________
20                                                 JP Bommel
21

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23

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                                                 25
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                              EXHIBIT A
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                              ASSET PURCHASE AGREEMENT

       This Asset Purchase Agreement (the “Agreement”) is made this 28th day of November
2022, by and among Brunico Communications Ltd., Canadian corporation (“Buyer”); and National
Association of Television Program Executives, Inc., Debtor-in-Possession (“Seller”).

                                            RECITALS

       WHEREAS, on October 11, 2022, Seller filed a voluntary petition for relief (the
“Bankruptcy Case”) under chapter 11 of title 11 of the United States Code (as amended, the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Central District of California
(the “Bankruptcy Court”);

       WHEREAS, Seller is a non-profit global content association and professional membership
organization dedicated to shaping the future of content through global marketplaces and
conferences, screenings, awards, and networking events (such activities of Seller, the “Business”);

        WHEREAS, Seller wishes to sell, transfer and assign, and Buyer wishes to purchase,
acquire and assume the Purchased Assets and the Assumed Liabilities, as applicable (the “Sale”)
on the terms and subject to the conditions set forth in this Agreement and to be set forth in an order
of the Bankruptcy Court authorizing and approving the sale pursuant to sections 363 and 365 of
the Bankruptcy Code (the “Sale Order”).

        WHEREAS, Seller and Buyer acknowledge and agree that the negotiation for the Sale and
the performance of the obligations hereunder and the consummation of the transactions described
herein by Seller and Buyer are and have been at arm’s length and in good faith.

      NOW THEREFORE, in consideration of the foregoing and of the mutual agreements and
covenants contained herein, the parties, intending to be legally bound, agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

       For purposes of, and in addition to terms defined elsewhere in, this Agreement (including
the Schedules attached hereto), the following terms shall have the meanings set forth below:

       “Action” means any demand, claim, action, suit or proceeding, arbitral action, inquiry,
criminal prosecution or investigation by or before any Governmental Authority.

       “Business Day” means any day of the year on which national banking institutions within
the State of California are open to the public for conducting business and are not required or
authorized to close.

       “Claim” means a “claim” as defined in section 101(5) of the Bankruptcy Code, to the extent
allowed pursuant to section 502 of the Bankruptcy Code.

        “Governmental Authority” means any government or governmental or regulatory body
thereof, or political subdivision thereof, whether foreign, federal, state, or local, or any agency,
instrumentality or authority thereof, or any court or arbitrator (public or private).


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        “Knowledge of Seller” means the actual knowledge of the board of directors of Seller.

        “Law” means any federal, state, local or foreign law, statute, code, ordinance, rule or
regulation.

        “Legal Requirements” means any federal, state, local, municipal, foreign or other Law,
statute, constitution, principle of common law, resolution, ordinance, code, edict, decree, rule,
regulation, ruling or requirement issued, enacted, adopted, promulgated, implemented or otherwise
put into effect by or under the authority of any Governmental Authority and all requirements set
forth in applicable agreements, contracts and understandings.

        “Liability” means any Claim, including any indebtedness, obligation or other liability
(whether or not absolute, accrued, matured, contingent, liquidated, known, suspected, fixed or
otherwise), including, any fine, assessment, penalty, judgment, award or settlement respecting any
judicial, administrative or arbitration proceeding, damage, loss, claim or demand with respect to
any Legal Requirement.

       “Lien” means any lien, encumbrance, pledge, mortgage, deed of trust, security interest,
claim, lease, charge, option, right of first refusal, easement, servitude, proxy, voting trust or
agreement, transfer restriction under any shareholder or similar agreement or encumbrance.

        “Material Adverse Effect” means any event or change that (A) has a material adverse effect
on the Purchased Assets, taken as a whole or (B) prevents any Seller from performing its
obligations under this Agreement or the consummation of the transactions contemplated hereby.

        “Order” means any order, injunction, judgment, decree, ruling, writ, assessment or
arbitration award of a Governmental Authority.

        “Person” means any individual, corporation, limited liability company, partnership, firm,
joint venture, association, joint-stock company, trust, unincorporated organization, Governmental
Authority or other entity.

                               ARTICLE II
         PURCHASE AND SAEL OF ASSETS; ASSUMPTION OF LIABILITIES

2.1     Purchase and Sale of Assets

         On the terms and subject to the conditions set forth in this Agreement and the Sale Order,
at the Closing (as defined in Section 7.1 below), Buyer shall purchase, acquire and accept from
Seller, and Seller shall sell, transfer, assign, convey and deliver to Buyer, free and clear of all Liens
to the fullest extent permissible under section 363(f) of the Bankruptcy Code, all of Seller’ right,
title and interest in, to and under all of the following assets (collectively, the “Purchased Assets”):

(a)              As set forth in Schedule A, all intellectual property rights arising from or in respect
of the following, whether protected, created or arising under the laws of the United States or any
other jurisdiction: (i) all patents and applications therefor, including continuations, divisionals,
continuations-in-part or reissues of patent applications and patents issuing thereon (collectively,
“Patents”), (ii) all trademarks, service marks, trade names, service names, brand names, trade dress
rights, logos, internet domain names and corporate names and general intangibles of a like nature,

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together with the goodwill associated with any of the foregoing, and all applications, registrations
and renewals therefor, which include but are not limited to “NATPE” and “National Association
of Television Program Executives” (collectively, “Marks”), (iii) all copyrights and registrations
and applications therefore, works of authorship and mask work rights (collectively, “Copyrights”),
(iv) discoveries, concepts, ideas, research and development, know-how, formulae, inventions,
compositions, manufacturing and production processes and techniques, technical data, procedures,
designs, drawings, specifications, databases, and other proprietary and confidential information,
including customer lists, supplier lists, pricing and cost information, and business and marketing
plans and proposals of Seller, (collectively, “Trade Secrets”), (v) all computer programs (including
any and all software implementations of algorithms, models and methodologies), whether in
source code or object code, all databases and compilations (including any and all data and
collections of data), whether machine readable or otherwise, all descriptions, flow-charts and other
work product used to design, plan, organize and develop any of the foregoing, screens, user
interfaces, report formats, firmware, development tools, templates, menus, buttons and icons, and
all documentation including user manuals and other training documentation related to any of the
foregoing (collectively, “Software”); and (vi) collectively, all designs, formulae, algorithms,
procedures, methods, techniques, ideas, know-how, research and development, technical data,
programs, subroutines, tools, materials, specifications, processes, inventions (whether patentable
or unpatentable and whether or not reduced to practice), apparatus, creations, improvements,
works of authorship and other similar materials, and all recordings, graphs, drawings, reports,
analyses, and other writings, and other tangible embodiments of the foregoing, in any form whether
or not specifically listed herein, and all related technology, that are used in, incorporated in,
embodied in, displayed by or relate to, or are used by Seller in connection with the Business
(collectively, “Technology” and, together with the Patents, Marks, Copyrights, Trade Secrets and
Software, “Intellectual Property Rights”);

(b)            all files, documents, instruments, papers, books, reports, records, tapes, microfilms,
photographs, letters, budgets, forecasts, ledgers, journals, title policies, certificates of title,
customer lists, regulatory filings, operating data and plans, technical documentation (including
design specifications, functional requirements, operating instructions, manuals and flow charts),
user documentation (including installation guides, user manuals, training materials, release notes
and working papers), marketing, advertising, and promotional materials (including sales
brochures, flyers, pamphlets, and web pages) and other similar materials related to the operation
of the Business, employee records, customer lists, vendor lists, contractor lists, and supplier lists,
wherever located, in each case whether in electronic or tangible form (collectively, “Documents”);

(c)            all websites and social media accounts owned or controlled by the Debtor and used
in its Business (including, but not limited to, Facebook, Snapchat, Instagram, Twitter, and
LinkedIn), including all credentials, usernames, and passwords used to access or administer such
platforms.

2.2    Excluded Assets

       Nothing contained herein or in the Sale Order shall be deemed to transfer, assign or convey
to Buyer, and Seller shall retain all right, title and interest to, in and under, and the Purchased
Assets shall not be deemed to include any assets not specified in Section 2.1 as Purchased Assets
(the “Excluded Assets”).



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2.3    Assumption of Liabilities

         On the terms and subject to the conditions set forth in this Agreement and the Sale Order,
Buyer shall assume, effective as of the Closing, only the liabilities of Seller set forth in Schedule B
(collectively, the “Assumed Liabilities”) which will only include the listed deferred revenue
liabilities regarding event-based claims for exhibition, sponsorship, or attendee registration
(“Deferred Claims”) in the amounts as set forth in Schedule B (derived from the Seller’s
bankruptcy schedules) or the amounts set forth in any timely-filed proof of claim by those creditors
identified in Schedule B, whichever is less, unless otherwise agreed to by Buyer. Schedule B will
be provided by Buyer on the earlier of 5 days after Seller files its bankruptcy schedules or 3 days
before the auction and sale hearing

2.4    Excluded Liabilities

        Notwithstanding anything in this Agreement or the Sale Order to the contrary, Buyer shall
not assume, and shall be deemed not to have assumed, and the Assumed Liabilities shall not be
deemed to include any Liabilities relating to the Business other than, in each case, the Assumed
Liabilities (collectively, the “Excluded Liabilities”), and Seller shall be solely and exclusively
liable with respect to all such Excluded Liabilities.

2.5    Designation Period

        Notwithstanding anything herein to the contrary, Buyer reserves the right, at any time
during the period commencing from the date hereof and ending on the day that is 5 days prior to
the date of any auction with respect to the Purchased Assets conducted pursuant to the Bidding
Procedures (such period, the “Designation Period”), to, upon written notice to Seller, re-designate
any Excluded Liability as an Assumed Liability, in its sole discretion.

2.6    Purchase Price and Payment

               i)    Purchase Price. In consideration of the sale, transfer, conveyance, assignment
                     and delivery of the Purchased Assets, Buyer shall (i) assume the Assumed
                     Liabilities, (ii) pay to Seller $150,000 (the “Purchase Price”).

               ii) Deposit. Within five Business Days of the execution of this Agreement, Buyer
                   shall cause to be paid a good faith deposit of $15,000 to Seller’s counsel (the
                   “Deposit”). The Deposit is subject to return to Buyer as set forth in the Bid
                   Procedures referenced herein and attached as Exhibit A.

                                   ARTICLE III
                    REPRESENTATIONS AND WARRANTIES OF SELLER

       Seller hereby represents and warrants to Buyer that:

3.1    Organization and Standing

        Seller is a corporation duly organized, validly existing and in good standing under the laws
of the State of California. Seller is duly qualified to do business and is in good standing in any
jurisdiction where it operates.


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3.2    Authority and Status

         Subject to the Sale Order, (a) Seller has the corporate power and authority to (i) execute
and deliver this Agreement and each and every agreement, document, instrument and certificate
required to be executed and delivered by Seller for the transfer of the Purchased Assets under this
Agreement (the “Seller Documents”) and (ii) perform its obligations hereunder and consummate
the Sale, (b) the execution, delivery and performance by Seller of this Agreement and the Seller
Documents have been duly authorized and approved by all necessary action of the Seller, and
(c) this Agreement and the Seller Documents constitute or, when executed and delivered, will
constitute, the valid and legally binding obligations of Seller, enforceable against it in accordance
with their respective terms.

3.3    Status of Assets of Seller

        Seller owns and has good title to all of the Purchased Assets, in each case free and clear of
all Liens.

3.4    Assumed Liabilities

       Seller estimates that Deferred Claims total approximately $1.3 million, and will not
exceed $1,430,000.

3.5    Intellectual Property Rights

(a)     The Intellectual Property Rights identified in Schedule A and specifically listed in Section
2.1(a) is a complete and correct list of all intellectual property rights of all Patents, Marks,
Copyrights and material Software (other than off the shelf Software) applied for, filed for, owned,
used, issued, registered or licensed (either as licensee or licensor) applicable to or used in the
Business, together with a complete list of all licenses granted by or to the Seller with respect to
any of the above. None of the Intellectual Property Rights has been or is, as applicable, cancelled,
expired, abandoned or otherwise terminated. Payment of all renewal and maintenance fees in
respect of all of the Intellectual Property Rights, and all filings related thereto, have been duly
made.

(b)     Seller: (i) owns, (ii) otherwise has the right pursuant to a valid written license, sublicense
or other contract, or (iii) has public domain or other legal access without need of a license, lease
or consent of any third party, to the Intellectual Property Rights, free and clear of all Liens, and
has the right to use all such Intellectual Property Rights as currently used in the Business.

(c)     To the Knowledge of Seller, Seller is not currently in receipt of any written notice asserting
that any of its Intellectual Property Rights are invalid or that the use of such Intellectual Property
Rights in the Business is violating the rights of others. There is no pending or, to the Knowledge
of Seller, threatened opposition, interference or cancellation proceeding before any court or
registration authority in any jurisdiction against the registrations and applications set forth in
Schedule A.

(d)    To the Knowledge of Seller, neither any of the Intellectual Property Rights nor the conduct
of Seller’ Business infringes upon, misappropriates or otherwise violates, nor within the
previous 10 years has infringed upon, misappropriated or otherwise violated, in any material

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respect, any intellectual property rights of others.

(e)    To the Knowledge of Seller, no Person is engaging in any activity that infringes, violates
or misappropriates, in any material respect, Seller’s Intellectual Property Rights.

(f)    After the consummation of the Sale, Buyer will own all right, title, and interest in and to
or have a valid written license to use all Intellectual Property Rights on substantially the same
terms and conditions as Seller enjoyed immediately prior to the Sale.

3.6    No Undisclosed Liabilities

       Seller shall disclose all Liabilities against, relating to or affecting Seller, the Business and
the Purchased Assets, in the schedules to be filed in its Bankruptcy Case on or before 11/25/22.

                                ARTICLE IV
                  REPRESENTATIONS AND WARRANTIES OF BUYER

       Buyer represents and warrants to Seller as follows:

4.1    Organization and Standing

       Buyer is a corporation organized under the laws of Canada, and has all requisite corporate
power and authority to enter into this Agreement and the other documents and instruments to be
executed and delivered by Buyer and to carry out the transactions contemplated hereby and
thereby.

4.2    Authorization and Binding Agreement

        The execution, delivery and performance of this Agreement by Buyer have been duly and
validly authorized by all necessary actions on the part of Buyer. This Agreement has been duly
signed and delivered by Buyer and constitutes the legal, valid and binding obligations of Buyer,
enforceable against it in accordance with its terms, except as the enforceability may be affected by
bankruptcy, insolvency or other similar laws affecting creditors’ rights generally, and by judicial
discretion in the enforcement of equitable remedies.

                                            ARTICLE V
                                           COVENANTS

5.1    Covenants of Seller

        Between the date hereof and the Closing Date, except as contemplated by this Agreement
or with the prior written consent of Buyer, Seller hereby covenants and agrees:

(a)    not to sell, transfer or encumber any of the Purchase Assets;

(b)     to give Buyer and its employees and other authorized representatives, during normal
business hours and with reasonable written prior notice, reasonable access to the Purchased Assets
and to all Documents relating to the Purchased Assets for the purpose of audit and inspection, and
to furnish or cause to be furnished to Buyer or its authorized representatives, upon reasonable


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notice, all information with respect to the Purchased Assets that Buyer may reasonably request;
provided, however, that no such investigation or examination shall be permitted to the extent that
it would require any Seller, to disclose information subject to attorney-client privilege or conflict
with any confidentiality obligations to which the Seller is bound.

5.2    Joint Covenants

(a)     Seller shall use its commercially reasonable efforts, subject to applicable bankruptcy laws,
rules and requirements, and Buyer shall reasonably cooperate with Seller, to obtain at the earliest
practicable date all consents and approvals required to consummate the transactions contemplated
by this Agreement.

(b)     Each of Seller and Buyer shall use its commercially reasonable efforts to (i) take all actions
necessary or appropriate to consummate the transactions contemplated by this Agreement and
(ii) cause the fulfillment at the earliest practicable date of all of the conditions to their respective
obligations to consummate the transactions contemplated by this Agreement. At and after the
Closing, Buyer and Seller will, without further consideration, execute and deliver such further
instruments and documents and do such other acts and things that the other party may reasonably
request in order to effect or confirm the transactions contemplated by this Agreement.

5.3    Employees

(a)    Seller currently has no employees.

(b)     Buyer shall have the right to employ or engage as contractors or employees any or all of
the former employees and former or current contractors of Seller as Buyer determines to be
qualified in its absolute and sole discretion and in accordance with Buyer’s employment practices
and procedures.

(c)     Buyer shall have the right, subject to applicable Legal Requirements, to review and inspect
Seller’s employee files and records prior to the Closing.

                                     ARTICLE VI
                              BANKRUPTCY COURT MATTERS

6.1    Bankruptcy Court Approval

        Seller shall, subject to the requirements and obligations under the Bankruptcy Code take
the following actions in the Bankruptcy Cases:

(a)     On or before November 11, 2022, Seller shall file a motion (the “Sale Motion”) seeking (i)
entry of an order (the “Bidding Procedures Order”) approving this Agreement subject to
solicitation of higher and better offers in accordance with bidding procedures in form and
substance satisfactory to Buyer, substantially in the form, and including the material terms, as
attached hereto as Exhibit A (the “Bidding Procedures”), and (ii) entry of the Sale Order
authorizing and approving the Sale including a finding that Buyer (if Buyer is the winning bidder)
is a good faith purchaser under section 363(m) of the Bankruptcy Code;

(b)    Seller shall diligently prosecute the Sale Motion; and


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(c)    Neither party shall seek to modify either the Bidding Procedures Order or the Sale Order,
once entered, without prior written consent of the other.

6.2    Approval of Break-Up Fee

(a)     Seller acknowledges and agrees that Buyer has expended, and will expend, considerable
time and expense in connection with this Agreement and the negotiation thereof and the
identification and quantification of assets of Seller. In consideration therefor, Seller shall seek the
approval of the Bankruptcy Court of (i) the payment of a break-up fee under the circumstances set
forth in the Bidding Procedures in an amount, limited to $29,000 (the “Break-Up Fee”), and (ii) the
treatment of the Break-Up Fee as an administrative priority expense under sections 503(b)
and 507(a)(l) of the Bankruptcy Code.

(b)     Seller shall pay to Buyer the balance of the Break-Up Fee on the first Business Day after
the earliest to occur of any of the following events:

               i)   Buyer terminates this Agreement (A) in accordance with Section 8.1(c) or (B)
                    in accordance with Section 8.1(a) as a result of a Material Adverse Effect that
                    is caused by any action or failure to act by Seller constituting a breach of this
                    Agreement, gross negligence or willful misconduct;

               ii) Seller withdraws the Sale Motion other than in connection with Seller’s
                   termination of this Agreement in accordance with Section 8.2;

               iii) the Bankruptcy Court approves a sale to an Alternative Buyer (as defined in
                    Exhibit A); or

               iv) to the extent that Seller is no longer under the jurisdiction of the Bankruptcy
                   Court as a result either of the dismissal of the Bankruptcy Case or of the
                   consummation of a plan of reorganization in the Bankruptcy Case,
                   consummation by Seller of an Alternative Transaction (as defined in Exhibit
                   A) prior to a date 18 months following the date of this Agreement.

                                     ARTICLE VII
                           CLOSING; CONDITIONS TO CLOSING

7.1    Time of Closing

        Subject to the satisfaction of the conditions set forth in this Article VII (or the waiver
thereof by the party entitled to waive that condition), the closing of the purchase and sale of the
Purchased Assets and the assumption of the Assumed Liabilities provided for herein (the
“Closing”) shall take place on a date, set by Seller, that is no later than 5 Business Days following
the satisfaction or waiver of the conditions set forth in this Article VII (other than conditions that
by their nature are to be satisfied at the Closing, but subject to the satisfaction or waiver of such
conditions), unless another time or date, or both, are agreed to in writing by the parties hereto. The
date on which the Closing shall be held is referred to in this Agreement as the “Closing Date”.




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7.2    Seller’s Deliveries at Closing

       At Closing, Seller shall deliver or cause to be delivered to Buyer the following:

(a)    a certified copy of the Sale Order;

(b)     one or more bills of sale, each duly executed by Seller, in a form acceptable to Buyer, and,
if necessary, general assignments of all Intellectual Property Rights included among the Purchased
Assets;

(c)    other such Seller Documents as Buyer may reasonably request to carry out the Sale; and

(d)    originals or copies of Documents.

7.3    Buyer’s Deliveries at Closing

       At Closing, Buyer shall deliver or cause to be delivered to Seller the following:

(a)    the Purchase Price as provided in Section 2.6 hereof;

(b)     each bill of sale and assignment and assumption agreement, duly executed by Buyer, and
each in substantially the form attached hereto as Exhibit B; and

(c)    such other documents, instruments and certificates as such Seller may reasonably request.

7.4    Conditions to Obligations of Buyer

        The obligations of Buyer to consummate the transactions contemplated by this Agreement
are subject to the fulfillment (or waiver by Buyer in its sole discretion), at or prior to the Closing,
of Seller’s obligation to deliver, or cause to be delivered, to Buyer, each of the items set forth in
Section 7.2.

7.5    Conditions to Obligations of Seller

        The obligation of Seller to consummate the transactions contemplated by this Agreement
is subject to the fulfillment (or waiver by the Seller), at or prior to the Closing, of Buyer’s
obligation to deliver, or cause to be delivered, to the Seller, each of the items set forth in
Section 7.3.



7.6    Conditions to Obligations of Buyer and Seller

        The respective obligations of Buyer and Seller to consummate the transactions
contemplated by this Agreement are subject to entry by the Bankruptcy Court of the Sale Order,
in form and substance satisfactory to Buyer in its sole discretion, and such order shall have become
a final order, not subject to appeal.




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7.7    Frustration of Closing Conditions

        Neither Buyer nor Seller may rely on the failure of any condition set forth in this Article VII
if such failure was caused by such party’s failure to comply with any provision of this Agreement.

                                          ARTICLE VIII
                                         TERMINATION

8.1    Termination by Buyer

        Buyer may terminate this Agreement, if it is not then in material default, upon written
notice to Seller at any time after the occurrence of any of the following:

(a)     there shall have occurred (and be continuing at the time of such termination) any event,
change, circumstance, occurrence, effect or state of facts that, individually or in the aggregate, has
had or would reasonably be expected to have a Material Adverse Effect;

(b)     any representation or warranty made by Seller in Article III hereof should fail to be true
and correct on and as of the Closing Date with the same effect as though such representation and
warranty had been made or given on and as of the Closing Date; or

(c)     Seller defaults in any material respect in the observance or in the due and timely
performance of any of its material covenants or agreements contained herein and such default has
not been cured within three days after written notice is given by Buyer.

8.2    Termination by Seller

       Seller may terminate this Agreement, if it is not then in material default, upon written notice
to Buyer, at any time after the occurrence of any of the following:

(a)     any representation or warranty made by Buyer in Article IV hereof shall fail to be true and
correct on and as of the Closing Date with the same effect as though such representation and
warranty had been made or given on and as of the Closing Date; or

(b)     Buyer defaults in the observance or in the due and timely performance of any of its material
covenants or agreements contained herein, and such default has not been cured within three days
after written notice by Seller

8.3    Termination by Both Parties

        This Agreement may be terminated at any time prior to the Closing by mutual written
consent of Seller and Buyer. Either party may terminate on 7 business days’ notice to the other
if the Sale Order has not been entered by 1/31/23, unless such date is mutually extended by the
parties

8.4    Effect of Termination

       Except as provided in Section 6.3, in the event that this Agreement is validly terminated as
provided herein, then each of the parties shall be relieved of its duties and obligations arising under


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this Agreement after the date of such termination and such termination shall be without liability to
Buyer or Seller; provided, however, that the obligations of the parties set forth in Article IX hereof
shall survive any such termination and shall be enforceable hereunder. Nothing in this Article VIII
shall relieve Buyer or Seller of any liability for a breach of this Agreement prior to the date of
termination (it being acknowledged that the failure of any representation or warranty contained in
Article III or Article IV to be true and correct shall not be deemed a breach of the obligations of
the party making such representation or warranty

                                         ARTICLE IX
                                       MISCELLANEOUS

9.1    No Survival

                (a)     The representations and warranties of the Seller contained in Article III
shall not survive the Closing, Seller shall have no liability to Buyer for any breach thereof (whether
prior to or after the Closing), and the sole remedy of Buyer for any breach thereof by Seller prior
to the Closing shall be the right to terminate this Agreement in accordance with and subject to the
conditions contained in Article VIII and to receive the Break-Up Fee in accordance with the
provisions of Article VI.

               (b)    None of the covenants of Buyer or Seller contained in this Agreement
(except for such items as are expressly required to be performed after the Closing) shall survive
the Closing hereunder, and no party hereto shall be liable to any other after the Closing for any
breach of such covenants.

9.2    Binding Effect; Assignment

        This Agreement shall be binding upon and inure to the benefit of the parties and their
respective successors and permitted assigns. No assignment of this Agreement or of any rights or
obligations hereunder may be made by Seller (by operation of law or otherwise) without the prior
written consent of Buyer and any attempted assignment by Seller without such Buyer consent shall
be void. No assignment of this Agreement or any rights or obligations hereunder may be made by
Buyer (by operation of law or otherwise) without the prior written consent of Seller and any
attempted assignment by Buyer without such consent shall be void; provided, however, that Buyer
may, in its sole discretion and with Notice to Seller, assign or transfer to any one or more Persons
any or all of its rights, interests and obligations under this Agreement, including without limitation
any or all of Buyer’s rights and/or interests with respect to any or all of the Purchased Assets, as
long as a majority of the outstanding capital stock of any such Person is owned directly or
indirectly by Buyer.

9.3    Taxes

        Seller shall (i) be responsible for any and all Liabilities for any sales, use, stamp,
documentary, filing, recording, transfer, gross receipts, registration, duty, or similar fees or taxes
or governmental charges (together with any interest or penalty, addition to tax or additional amount
imposed) as levied by any taxing authority in connection with the transactions contemplated by
this Agreement (collectively, “Transfer Taxes”), regardless of the Person liable for such Transfer
Taxes under applicable Law and (ii) timely file or caused to be filed all necessary documents with
respect to Transfer Taxes. The parties will reasonably cooperate to minimize any such Transfer

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Taxes, including with respect to delivery location.

9.4    Submission of Jurisdiction; Waiver of Jury Trial

(a)      Without limiting any party’s right to appeal any order of the Bankruptcy Court (i) the
Bankruptcy Court shall retain exclusive jurisdiction to enforce the terms of this Agreement and to
decide any claims or disputes which may arise or result from, or be connected with, this
Agreement, any breach or default hereunder, or the transactions contemplated hereby, and (ii) any
and all proceedings related to the foregoing shall be filed and maintained only in the Bankruptcy
Court, and the parties hereby consent to and submit to the jurisdiction and venue of the Bankruptcy
Court and shall receive notices at such locations as indicated in Section 9.7; provided, however,
that if the Bankruptcy Case has closed, the parties agree to unconditionally and irrevocably submit
to the exclusive jurisdiction of the U.S. federal and state courts of competent jurisdiction located
in within Los Angeles County, State of California and any appellate court from any such court, for
the resolution of any such claim or dispute. The parties hereby irrevocably waive, to the fullest
extent permitted by applicable Law, any objection which they may now or hereafter have to the
laying of venue of any such dispute brought in such court or any defense of inconvenient forum
for the maintenance of such dispute. Each of the parties hereto agrees that a judgment in any such
dispute may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by Law.

(b)    Each of the parties hereto hereby consents to process being served by any party to this
Agreement in any suit, action or proceeding by delivery of a copy thereof in accordance with the
provisions of Section 9.7.

(c) EACH PARTY TO THIS AGREEMENT HEREBY WAIVES ANY RIGHT TO TRIAL
BY JURY IN ANY ACTION, MATTER OR PROCEEDING REGARDING THIS
AGREEMENT OR ANY PROVISION HEREOF

9.5    Governing Law

        This Agreement shall be governed, construed and enforced in accordance with the laws of
the State of California, without regard to the choice of law provisions thereof.

9.6    Construction

       The parties acknowledge and agree that this Agreement has been fully negotiated between
them and shall not be interpreted or construed against the drafting.

9.7    Notices

        All notices, demands, requests or other communication required or permitted hereunder
shall be in writing and sent by certified, express or registered mail, return receipt requested, postage
prepaid, overnight air courier service, personal delivery, or via facsimile (with proof of
transmission) to the address specified below (or to such other address which a party shall specify
to the other party in accordance herewith):




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               If to Buyer:            Brunico Communications Ltd.
                                       366 Adelaide St. West.    Suite 100
                                       Toronto, Ontario, Canada M5V 1R9
                                           Attn: Russell Goldstein
                                           E-Mail: rgoldstein@brunico.com

               With a copy to
(which shall not constitute notice):   Zolkin Talerico LLP
                                       Attn: Derrick Talerico
                                       Email Address: dtalerico@ztlegal.com

               If to Seller:           Debtor
                                       Attn:
                                       Email Address:

               With a copy to:
(which shall not constitute notice):   Leslie Cohen
                                       J’aime Williams
                                       leslie@lesliecohenlaw.com
                                       jaime@lesliecohenlaw.com
                                       1615A Montana Ave., Santa Monica, CA 9040

Notice shall be deemed to have been given on the date of personal delivery, the date set forth in
the records of the delivery service, or upon confirmation of email receipt

9.8    Counterparts and Signatures

        This Agreement may be signed in counterparts, each of which shall be deemed an original,
but all of which together shall constitute one and the same Agreement. Counterpart signatures to
the Agreement delivered and received by facsimile shall be acceptable and binding to both parties

9.9    Entire Agreement

        This Agreement, the Schedules and Exhibits hereto, and all documents to be delivered by
the parties pursuant hereto, collectively represent the entire understanding and agreement between
Buyer and Seller with respect to the subject matter hereof. This Agreement supersedes all prior
memoranda, discussions and agreements between the parties hereto, and may not be modified,
supplemented or amended, except by a written instrument signed by each of the parties hereto
designating specifically the terms and provisions so modified, supplemented or amended.

9.10   Captions

The section captions and headings in this Agreement are for convenience and reference purposes
only and should not affect in any way the meaning or interpretation of this Agreement.

9.11   No Waiver

        Unless otherwise specifically agreed in writing to the contrary, (i) no waiver by any party
of any default by another shall be taken or held to be a waiver by such party of any other preceding


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or subsequent default and (ii) no extension of time granted by any party for the performance of
any obligation or act by any other party shall be deemed to be an extension of time for the
performance of any other obligation or act hereunder.

9.12   No Consequential Damages

        Notwithstanding anything to the contrary elsewhere in this Agreement, no party shall, in
any event, be liable to any other Person for any consequential, incidental, indirect, special or
punitive damages of such other Person, including loss of future revenue, income or profits,
diminution of value or loss of business reputation or opportunity relating to the breach or alleged
breach hereof (provided that such limitation with respect to lost profits or diminution in value shall
not limit Seller’s right to recover contract damages in connection with Buyer’s failure to close in
violation of this Agreement).

9.13   Expenses

       Except as otherwise provided in this Agreement, Seller and Buyer shall bear its own
expenses incurred in connection with the negotiation and execution of this Agreement and each
other agreement, document and instrument contemplated by this Agreement and the
consummation of the transactions contemplated hereby and thereby.

9.14   No Third Party Beneficiaries

        Nothing in this Agreement shall create or be deemed to create any third party beneficiary
rights in any Person or entity not a party to this Agreement, except to the extent expressly provided
herein.

9.15   Interpretation

        All references in this Agreement to any “Section” or “Article” are to the corresponding
Section or Article, as applicable, of this Agreement unless otherwise specified. All Exhibits and
Schedules annexed hereto or referred to herein are hereby incorporated in and made a part of this
Agreement as if set forth in full herein. The language used in this Agreement shall be deemed to
be the language chosen by the parties to express their mutual intent. In the event that an ambiguity
or question of intent or interpretation arises, this Agreement shall be construed as if drafted jointly
by the parties, and no presumption or burden of proof shall arise favoring or disfavoring any Person
or entity by virtue of the authorship of any of the provisions of this Agreement.

                                      [Signature page follows]




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      IN WITNESS WHEREOF, the parties hereto have executed this Asset Purchase
Agreement as of the day and first year above written.

                                    SELLER


                                    National Association of Television Program
                                    Executives, Inc., Debtor-in-Possession


                                    By:

                                    Name:

                                    Title:


                                    BUYER

                                    Brunico Communications Ltd.


                                    By:

                                    Name:       Russell Goldstein

                                    Title:      President & CEO




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                                         SCHEUDLE A

        Without limiting the scope of the Intellectual Property Rights as set forth in Section 2.1
of this Agreement, Intellectual Property Rights include the following assets identified in the
Seller’s bankruptcy schedules:

   1. NATPE domain names;

   2. NATPE registered trademarks;

   3. Customer lists




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                                          SCHEDULE B


CREDITOR                                         AMOUNT
A&E Networks                                              13,693.61
Abacus Media Rights                                        3,900.00
All3Media International                                   18,000.00
ATV                                                        3,921.00
Banijay Rights                                            10,750.00
Big Fish Entertainment                                     5,250.00
Blue Ant Media                                             1,275.00
Boricua TV                                                 1,125.00
Brain Power Studio                                         3,750.00
Bridgestone Multimedia Group                               8,300.00
Buendia Estudios                                           1,100.00
Calinos Entertainment                                     13,100.00
Candlelight Media Group                                    3,550.00
CDC United Network                                        16,500.00
Cineflix Rights                                            4,325.00
Cisneros Media                                             5,250.00
ComediHa! Distribution                                     4,300.00
Debmar-Mercury                                            18,000.00
Disney Distribution - Latin America                       50,500.00
Dori Media Group                                           4,250.00
Dori Media Group                                           2,812.50
Eccho Rights                                              10,000.00
Electric Entertainment                                     4,200.00
EW Scripps Co                                              7,500.00
Exile Content Studio                                      12,000.00
Fero International                                         5,250.00
FlimRise                                                  26,750.00
Flix Translations Group                                    2,100.00
Global Agency                                             16,600.00
GRB Studios                                                7,800.00
Great Movies Distribution                                  7,800.00
Hemisphere Media Group                                    13,000.00
Horowitz Research                                          3,000.00
ICEX                                                      60,500.00
Istanbul Chamber of Commerce                               3,780.00
ITV Global Entertainment                                   5,250.00
Kanal D International                                      8,065.00
KOCCA                                                     33,200.00
Ledafilms                                                  1,520.00
Lionsgate TV                                              64,000.00
MA Production Film                                         7,625.00
Mediagenix                                                 2,000.01
Mega Global Entertainment (MGE)                            1,650.00
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Mesber Agency                                              1,050.00
Monarch Films                                                975.00
Multicom Entertainment                                     4,750.00
NBCUniversal                                              14,000.00
NBCUniversal Local                                        12,500.00
Nielsen                                                   18,750.00
Pinnacle Peak Pictures                                     3,750.00
Polar Star SA                                             18,750.00
PPI Releasing LLC                                          4,650.00
Premiere Entertainment                                     2,450.00
Prime Entertainment                                        2,000.00
PROCOLUMBIA                                               19,500.00
Record TV                                                 21,976.50
Red Arrow Studios International                            4,850.00
Reel One Entertainment                                     3,750.00
Secuoya Studios SL                                         3,615.00
Shoreline Entertainment                                    3,750.00
Shout! Factory                                            10,000.00
Sociedade Independente de Comunicacao (SIC Portugal)       4,300.00
Somos Distribution                                        27,400.00
Studio Canal                                               3,500.00
Swarm Studios                                              4,245.00
Telco Productions Inc                                      3,600.00
Televisa International                                    62,850.00
The Associated Press                                      15,850.00
The Asylum                                                12,250.00
The Media Pro Studio US                                    9,500.00
The Television Syndication Co                              1,404.00
Toei Animation Inc                                         8,300.00
Trifecta Entertainment                                     9,750.00
Vargo Media                                                1,680.00
Veronica Lake Books                                        1,500.00
Viaccess-Orca                                              1,785.00
ViacomCBS Networks                                       184,615.23
Vision Films Inc                                           7,800.00
VMI Worldwide                                              1,260.00
Wag Entertainment                                          2,500.00
Warner Bros International TV Production                    9,750.00
Worldwide Audiovisual Women's Association                 27,840.00
YLE                                                        2,450.00
ZDF Studios                                                4,750.00
TOTAL                                                  1,057,187.85
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 1                               DECLARATION OF RUSSELL GOLDSTEIN

 2     I, Russell Goldstein, declare as follows:

 3             1.     I am, the President and CEO of Brunico Communications Ltd. (“Brunico”). The facts

 4     set forth herein are based upon my personal knowledge, or in the case of occurrences for which I

 5     was not present, based upon the facts as I came to learn them. If called as a witness, I could and

 6     would testify competently thereto.

 7             2.     Brunico took part in an open bidding process for selection as the stalking horse bidder

 8     for designated assets (the “Assets”) of the debtor, National Association of Television Program

 9     Executives, Inc. (the “Debtor”), and was selected as the stalking horse bidder for the proposed asset

10     sale.

11             3.     Brunico negotiated the Agreement that is proposed for the sale of the Assets should

12     Brunico be selected as the winning bidder at an auction and approved by this Court in good faith and

13     at arms’ length.

14             4.     Per the terms of the Agreement and as set forth in the Sale Motion filed by the

15     Debtor, the Agreement, if approved by the Court, would have Brunico assume $1,057,187.85 of the

16     Debtor’s liabilities (the “Assumed Liabilities”). Brunico has the ability to make payment on the

17     Assumed Liabilities when and if the holders of such Assumed Liabilities make demand for payment.

18     Brunico does not expect it will be called upon to make cash payments on most if not all of the

19     Assumed Liabilities; Brunico will offer in-kind payment to the holders of the Assumed Liabilities

20     through participation in upcoming events. Nevertheless, should demand be made for payment on any

21     Assumed Liabilities, Brunico has the means to satisfy such demand as evidenced by the current bank

22     statement attached hereto as Exhibit 1.

23             5.     Per the Agreement, Brunico, if it is the winning bidder for the Assets, will take

24     assignment of that certain contract between Debtor and Intercontinental Budapest (the “Budapest

25     Contract”). No cure payment is anticipated for the assumption of the Budapest Contract. Brunico

26     anticipates it will perform on the Budapest Contract and make payment to the Intercontinental

27     Budapest as set forth therein. Nevertheless, per the terms of the Amendment #1 to the Budapest

28     Contract setting forth a cancellation fee schedule ranging from EUR 10,818.86 up to EUR

                                                          1                           GOLDSTEIN DECLARATION
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 1     233,020.30, Brunico has the means to satisfy any cancellation fee on the Budapest Contract per

 2     Exhibit 1.

 3            6.      To the best of my knowledge, Brunico does not have any insider relationship with the

 4     Debtor such that neither myself nor any director or officer of Brunico (each a “Brunico Executive”)

 5     have any ownership interest in the Debtor nor does any Brunico Executive have any personal

 6     relationship a director or officer of the Debtor, other than a professional relationship.

 7

 8     I declare under penalty of perjury under the laws of the State of California that the foregoing is true

 9     and correct.

10            Executed this 5th day of December 2022, at Toronto, Canada.

11

12
                                                      Russell Goldstein
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                                   EXHIBIT	  1	  




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                                              PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                         1615-A Montana Avenue, Santa Monica, CA 90404
     A true and correct copy of the foregoing document entitled (specify): DEBTOR’S MOTION FOR ORDER (A)
     AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR OF ANY
     LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS; (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT
     OF CERTAIN EXECUTORY CONTRACTS AND (C) GRANTING OTHER RELATED RELIEF; MEMORANDUM OF
     POINTS AND AUTHORITIES AND DECLARATION IN SUPPORT THEREOF will be served or was served (a) on the
     judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
     Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
     __12/6/22___, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
     following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
             Russell Clementson russell.clementson@usdoj.gov
             Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;jessica@lesliecohenlaw.com
             Andrew W. Levin (TR) andy@fairpointllc.com, C198@ecfcbis.com
             Michael B Lubic michael.lubic@klgates.com, jonathan.randolph@klgates.com,klgatesbankruptcy@klgates.com
             Derrick Talerico dtalerico@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com
     United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
                                                                                Service information continued on attached page

     2. SERVED BY UNITED STATES MAIL:
     On (date) ___12/6/22/22__, I served the following persons and/or entities at the last known addresses in this bankruptcy
     case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
     first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
     judge will be completed no later than 24 hours after the document is filed.
                                                                            Service information continued on attached
               page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                            Service information continued on attached
              page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   12/6/22                           Jessica Spagnoli                                  /s/ Jessica Spagnoli
   Date                           Printed Name                                         Signature




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


     June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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BY US. Mail

Hon. Martin R. Barash
United States Bankruptcy Court
21041 Burbank Blvd,
Woodland Hills, CA 91367-6606

Andrew W. Levin (TR)
3946 Stone Canyon Avenue
Sherman Oaks, CA 91403-4538

United States Trustee
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017

Secured

None

20 Largest Unsecured
Lionsgate TV                                    NBCUniversal Telemundo                           Redbox
2700 Colorado Avenue                            1 Telemundo Way                                  One Tower Place
Santa Monica, CA, 90404                         Miami, FL, 33182                                 Suite 900
                                                                                                 Oakbrook Terrace, IL, 60181
MGM Television                                  INTERCONTINENTAL
245 North Beverly Drive                         BUDAPEST                                         Schramm Marketing Group
Beverly Hills, 90210                            Apáczai Csere János                              222 Ocean Avenue
                                                utca 12-14                                       Northport, NY, 11768
NBC Universal                                   Budapest, Hungary, 1052
30 Rockefeller Plaza                                                                             Globo Comunicação e
15th Floor East                                 PLUTO TV                                         Participações S.A.
New York, NY, 10112                             750 North San Vicente                            303 Jardim Botânico
                                                Suite 800                                        CEP 22460-010
ModcoMedia                                      West Hollywood, CA, 90069                        Rio de Janeiro, Brazil, CNPJ
102 Madison Avenue                                                                               27.865.757/0001
10th Fl.                                        Endemol Shine North America
New York, NY, 90004                             5161 Lankershim Suite 400                        Debmar-Mercury
                                                North Hollywood, CA, 91601                       2700 Colorado Avenue
Sony Pictures                                                                                    4th Floor
10202 W. Washington Blvd.                       MGM Television                                   Santa Monica, CA, 90404
Culver City, CA, 90232                          245 North Beverly Drive
                                                Beverly Hills, 90210                             ViacomCBS Networks
Disney Media Distribution - Latin                                                                2450 Colorado Avenue
Two Alhambra Plaza                              Inter Medya Hiz. Tic. A.S.                       Suite 500E
9th Floor                                       Kore Sehitleri Cad.                              Santa Monica, CA, 90404
Coral Gables, FL, 33134                         Kore Sehitleri Cd. 16/1
                                                Istanbul, Turkey, AK, 34394                      NBC Universal Local
Grand Hyatt at Baha Mar                                                                          15000 SW 27th Street
One Baha Mar Boulevard                          The CW Television Network                        2nd Fl.
PO Box SP-64324                                 3300 West Olive Ave.                             Miami, FL, 33133
Nassau, The Bahamas                             Bldg. 168
                                                Burbank, CA, 91505
 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-
3.1.PROOF.SERVICE
